                           Kolawole Law Firm LLC
       Case 1:18-cv-01981-GLR Document 1-8 Filed 06/29/18 Page 1 of 15

                 7517 Cedar Grove Lane, Elkridge, MD 21075| 443 546 8146 | oakolawole@justklf.com



June 1, 2018


Email: abuse@amazonaws.com;
                                        Exhibit 6
Copyright Agent/Amazon Web Services
Amazon.com Legal Department
P.O. Box 81226
Seattle, WA 98108


Attn: Copyright Agent Amazon Web Services
   1. Please be advised that we represent Style Pantry LLC and Ms. Folake Huntoon.
      Style Pantry LLC is the registered trademark owner of FKSP Folake Kuye Style
      Pantry mark, the owner of http://stylepantry.com, an online fashion blog, and
      https://shopfksp.com/, a fashion store.
   2. This letter is a Notice of Infringement as authorized in § 512(c) of the U.S.
      Copyright Law under the Digital Millennium Copyright Act (DMCA). I wish to
      report the Copyright Infringement of FKSP and Ms. Huntoon’s images. The
      infringing material appears on a website for which you are the designated host
      or hosting or providing services to.
         a. https://www.chicme.com/
   3. The copyrighted material, which I contend belongs to Style Pantry LLC and/or
      Ms. Huntoon and appears illegally on the website for which you provide services
      to, are listed in the attached Schedule of Copyright Infringement.
   4. The site is displaying unauthorized images of Ms. Huntoon and fashion style
      designs she created. The website then photo-shops the images or sells additional
      colors of the style featured in the pictures.



                                                                                            Page 1 of 2
                           Kolawole Law Firm LLC
       Case 1:18-cv-01981-GLR Document 1-8 Filed 06/29/18 Page 2 of 15

                 7517 Cedar Grove Lane, Elkridge, MD 21075| 443 546 8146 | oakolawole@justklf.com



   5. I have a good faith belief that the use of the copyrighted materials is not

                                        Exhibit 6
       authorized by the copyright owner, its agent, or the law.
   6. ChicMe.com is a gross violator of the copyrights of others and Amazon Web
       Services is hereby put on notice.
   7. I swear, under the penalty of perjury, that the information in this notification is
       accurate and that I am authorized to act on behalf of the Copyright’s owner.


Sincerely,



Jimi Kolawole, Esq.




                                                                                            Page 2 of 2
                                                       Case 1:18-cv-01981-GLR Document 1-8 Filed 06/29/18 Page 3 of 15
                                                                                                                            Exhibit 6
                                                                    Schedule of Copyright Infringement
                                        Original                                                                           Infringing Image
                                                                                     https://www.chicme.com/product/stylish_skew_neck_tied_jumpsuits/ac9614ec-76c3-4e77-8989-
http://stylepantry.com/2018/02/02/one-shoulder-drape-jumpsuit-wbelt/                 848d43e46c65.html
                                                                                     https://www.chicme.com/product/solid_one_shoulder_tied_waist_culotte_jumpsuit/7393ad76-a5ca-
http://stylepantry.com/2017/07/10/buttoned-shoulder-dolman-sleeve-jumpsuit/          4cf9-a8c0-80ea688a8697.html
                                                                                     https://www.chicme.com/product/rainbow_striped_skew_neck_casual_jumpsuit/b74e11d1-2728-
http://stylepantry.com/2017/07/10/buttoned-shoulder-dolman-sleeve-jumpsuit/          4374-b77a-c191a7325232.html
                                                                                     https://www.chicme.com/product/self_belted_wide_leg_jumpsuits/66934c38-e782-477d-828e-
http://stylepantry.com/2017/12/11/fksp-folded-collar-jumpsuit/                       494845680f82.html
                                                                                     https://www.chicme.com/product/casual_side_slit_contrast_color_blouse/2c14c4a8-5efc-4d82-b4d6-
http://stylepantry.com/2018/01/25/folded-collar-tunic-ripped-white-jeans/            f3506f52b72e.html
                                                                                     https://www.chicme.com/product/high_split_leopard_print_beachwear_maxi_wrap_dress/656ecc07-
http://stylepantry.com/2015/07/09/leopard-print-wrap-dress-distressed-white-jeans/   7139-44fa-9d4a-a4898ed3ea6b.html
                                                                                     https://www.chicme.com/product/trendy_side_split_long_sleeve_maxi_dress/5ebcde85-e374-4306-
http://stylepantry.com/2016/01/06/ribbed-sweater-midi-dress/                         9019-0c63a16640ef.html
                                                                                     https://www.chicme.com/product/lantern_sleeve_tied_high_waist_flared_jumpsuits/6d8a808f-3a76-
http://stylepantry.com/2017/11/16/navy-bell-sleeve-wide-leg-jumpsuit/                4f8b-9a31-e4c020756c00.html
                                                                                     https://www.chicme.com/product/deep_v_puff_sleeve_midi_dress_/519e90b1-dbc9-4131-8b46-
http://stylepantry.com/2017/12/12/wrap-bodice-fitted-midi-dress/                     71f4ce3a81bb.html
                                                                                     https://www.chicme.com/product/solid_batwing_sleeve_skew_neck_maxi_dress/6575145c-5bd5-
http://stylepantry.com/2012/07/06/50654/                                             4ca3-bc71-9dea4cc1928f.html
                                                                                     https://www.chicme.com/product/self_belted_wide_leg_jumpsuits/66934c38-e782-477d-828e-
http://stylepantry.com/2017/12/11/fksp-folded-collar-jumpsuit/                       494845680f82.html
                                                                                     https://www.chicme.com/product/trendy_pocket_design_high_waist_pleated_skirt/470d488f-49c3-
http://stylepantry.com/2016/04/21/printed-halter-top-white-flounce-midi-skirt/       4870-99c2-878c66ff398f.html

Below have been deleted following from a Cease & Desist Notice
                                        Original                                                                           Infringing Image
                                                                                     [ https://www.chicme.com/product/rainbow_striped_skew_neck_casual_jumpsuit/b74e11d1-2728-
                                                                                     4374-b77a-c191a7325232.html ]
                                                                                       https://www.chicme.com/product/fashion_cut_out_tied_front_pantsuits/ab24442b-5169-4989-9a7f-
http://stylepantry.com/2018/01/29/side-slit-crop-top-high-waist-belted-pants         e86a810c70c8.html  
                                                                                     https://www.chicme.com/product/solid_button_high_waist_wide_leg_pant/dcb6eee1-552c-4b79-9f3f-
http://stylepantry.com/2018/03/27/puff-sleeve-shirt-high-waist-linen-pants/ [        550a412737f2.html 
                                                                                      https://www.chicme.com/product/asymmetric_ruched_one_shoulder_pleated_casual_dress/f8a40a3
http://stylepantry.com/2017/12/25/one-shoulder-draped-midi-dress/                    2-ce14-41f8-a1d6-68139ea5b181.html  
                                                                                      https://www.chicme.com/product/oversize_irregular_sleeveless_long_back_blouse/01fc5ec0-2d84-
http://stylepantry.com/2018/03/05/halter-top-w-train-ripped-ankle-jeans/             46de-aa60-9a7587f76835.html 
                                                                                       https://www.chicme.com/product/contrast_color_splicing_deep_v_slit_casual_blouse/a09ca521-
http://stylepantry.com/2018/03/19/contrast-tunic-dark-rinse-jeans                    0d81-4b64-9da0-ddceddad506d.html 
                                                                                       https://www.chicme.com/product/solid_one_shoulder_sheath_midi_dress/4c01c733-1185-4a07-
http://stylepantry.com/2018/02/12/one-shoulder-midi-dress                            8610-315bccddb75e.html 
                                                                                       https://www.chicme.com/product/fashion_buttoned_belted_wide_leg_jumpsuit/3c0b69e3-e9c2-
http://stylepantry.com/2017/11/02/bell-sleeve-wide-leg-jumpsuit                      4539-b4c4-d8d641de4fb5.html 
                                                                                       https://www.chicme.com/product/fashion_button_design_tied_waist_casual_blouse/a7a87062-6794-
http://stylepantry.com/2017/10/06/asymmetric-button-down-shirt-ankle-length-jeans    4395-9724-8f282e4ab2de.html 
                                                                                      https://www.chicme.com/product/solid_batwing_sleeve_split_maxi_dress_/ffbdeced-f161-4ee6-9fd8-
http://stylepantry.com/2017/11/27/drape-maxi-dress-wside-slit-2/                     1bb0e5fc9ea7.html  
                                                                                      https://www.chicme.com/product/stylish_digital_print_high_slit_maxi_dress/aaf523c4-8dbc-439f-
http://stylepantry.com/2017/07/20/print-midi-shirt-dress/                            9831-4798366887cb.html 
                                                                                      https://www.chicme.com/product/stylish_off_shoulder_flare_sleeve_bodycon_dress/06676a66-293c-
http://stylepantry.com/2016/06/14/off-shoulder-frill-sleeves-midi-dress/             4731-b54a-026ff4feee6f.html 
                                                   Case 1:18-cv-01981-GLR Document 1-8 Filed 06/29/18 Page 4 of 15

                                                                 Schedule of Copyright Infringement
                                                                                                                      Exhibit 6
                                     Original                                                                      Infringing Image
                                                                               https://www.chicme.com/product/one_shoulder_layered_flare_sleeve_print_dress/d1fa1580-e91a-
http://stylepantry.com/2017/12/27/peplum-one-shoulder-dress/                  42bc-b7aa-fb487ec1cf48.html 
                                                                               https://www.chicme.com/product/half_sleeve_printed_midi_dress_/bd3c5193-5c96-4757-a498-
http://stylepantry.com/2017/11/09/printed-dolman-sleeve-midi-dress/           53656747811b.html 
                                                                               https://www.chicme.com/product/stylish_ruched_skew_neck_bodycon_midi_dress/859b1e27-2898-
http://stylepantry.com/2017/05/18/black-slouchy-off-shoulder-midi-dress/      4332-a589-ce52c876e7a9.html 
                                                                               https://www.chicme.com/product/puff_sleeve_geometric_print_maxi_dress/c38e7505-87e6-4537-
http://stylepantry.com/2017/12/05/printed-long-sleeve-v-neck-maxi/            854c-37990ed24e89.html 
                                                                               https://www.chicme.com/product/solid_one_shoulder_tied_waist_flared_jumpsuit/740e87e0-01cf-
http://stylepantry.com/2017/07/10/buttoned-shoulder-dolman-sleeve-jumpsuit/   4cfc-8bff-8932c0db1b93.html 
                                                                              https://www.chicme.com/product/fashion_buttoned_belted_wide_leg_jumpsuit/242348c5-e427-4106-
http://stylepantry.com/2017/11/02/bell-sleeve-wide-leg-jumpsuit/ [            a1ab-2b0d59acb357.html 
http://stylepantry.com/2017/07/10/buttoned-shoulder-dolman-sleeve-jumpsuit/
                                                                                https://www.chicme.com/product/elegant_high_waist_bandage_wide_leg_pants/9ab819d3-57fa-
http://stylepantry.com/2017/07/05/boxy-crop-top-belted-high-waist-pants/      44d1-aa31-aa2e864754f6.html 
  6/3/2018
   Blog (https://blog.mxtoolbox.com/)                                                            Network
                                                API (https://mxtoolbox.com/c/products/mxtoolboxapi)      Tools:
                                                                                                    Products      DNS,IP,Email
                                                                                                             (https://mxtoolbox.com/Public/Content/Products/)                       About Us (https://mxtoolbox.com/AboutUs
                                Case 1:18-cv-01981-GLR Document 1-8 Filed 06/29/18 Page 5 of 15
(https://mxtoolbox.com/SuperTool.aspx)
   Support (https://mxtoolbox.com/support.aspx)                Responsive BETA        Login (https://mxtoolbox.com/Public/Login.aspx?page=pp)




 (https://mxtoolbox.com/SuperTool.aspx)
           MX Lookup (https://mxtoolbox.com/)                  Blacklists (https://mxtoolbox.com/blacklists.aspx)        Diagnostics (https://mxtoolbox.com/diagnostic.aspx)         Domain Health (https://mxtoolbox.com/d

 Analyze Headers (https://mxtoolbox.com/EmailHeaders.aspx)                     Free Monitoring (https://mxtoolbox.com/services_servermonitoring2.aspx)               DMARC (https://mxtoolbox.com/DMARC.aspx)

 Investigator (https://mxtoolbox.com/Public/FreeInvestigator.aspx)                DNS Lookup (https://mxtoolbox.com/DNSLookup.aspx)                  More     (https://mxtoolbox.com/NetworkTools.aspx)



SuperTool Beta7                                                                                                                                                                                           Free MxToolBox A
                                                                                                                                                                                                  Get 1 Free Monitor*, Email
                                                                                                                                                                                                              Troubleshooting
  wanna-shop.elasticbeanstalk.com                                       DNS Lookup
                                                                                                                                                                                                               Blacklist Mo
                                                                                                                                                                                                  100+ Blacklist Monitored + D


    a:wanna-shop.elasticbeanstalk.com                                                                                                                                                                             Delivery C
       Find Problems (https://mxtoolbox.com/domain/wanna-shop.elasticbeanstalk.com/?source=findmonitors)                                                                                   a
                                                                                                                                                                                                 Real-time insight into the Ema
                                                                                                                                                                                                         you or your 3rd party
     Type              Domain Name                                                                             IP Address                                                  TTL

     A                 wanna-shop.elasticbeanstalk.com                                                         54.148.245.40                                               60 sec
                                                                                                               Amazon.com, Inc. (AS16509)                                                                           Bulk Loo
     A                 wanna-shop.elasticbeanstalk.com                                                         54.148.218.115                                              60 sec                 Run Bulk lists of IPs and Do
                                                                                                               Amazon.com, Inc. (AS16509)                                                            MX/NS/A Record, GeoIP
     A                 wanna-shop.elasticbeanstalk.com                                                         50.112.145.132                                              60 sec
                                                                                                               Amazon.com, Inc. (AS16509)
                                                                                                                                                                                                               MailFlow Mo
     A                 wanna-shop.elasticbeanstalk.com                                                         54.218.33.160                                               60 sec
                                                                                                               Amazon.com, Inc. (AS16509)                                                        Round-trip email server mon
                                                                                                                                                                                                         and email deliverabil
                                                                                                                                                       Test                 Result

          (https://mxtoolbox.com/problem/a/dns-record-published?page=prob_a&action=a:wanna-                                                            DNS Record           DNS Record
     shop.elasticbeanstalk.com&showlogin=1&hidepitch=0&hidetoc=1)                                                                                      Published            found



         Your DNS hosting provider is "Amazon Route 53"                       Need Bulk Dns Provider Data? (https://mxtoolbox.com/bulklookup.aspx?referrer=
         supertool&type=dns)


     smtp diag                                     blacklist                             http test                            dns propagation
    Reported by ns-846.awsdns-41.net on 6/4/2018 at 3:13:12 AM (UTC 0), just for you (https://mxtoolbox.com/whatismyip/?justforyou=1).                                              Transcript



    mx:www.chicme.com
          Solve Email Delivery Problems (https://mxtoolbox.com/productinfo/emaildelivery.aspx?source=supertool-mx)                                                                       mx

     Type              Domain Name                         Canonical Name                                                    TTL

     CNAME             www.chicme.com                      wanna-shop.elasticbeanstalk.com                                   60 min        Blacklist Check     SMTP Test


                                                                                                        Test            Result

          (https://mxtoolbox.com/problem/mx/dmarc-record-published?                                     DMARC           No               More Info
     page=prob_mx&action=mx:www.chicme.com&showlogin=1&hidepitch=0&hidetoc=1) Record                                    DMARC (https://mxtoolbox.com/productinfo/emaildelivery.aspx?
                                                                                                        Published Record              source=mx_subaction)
                                                                                                                        found

          (https://mxtoolbox.com/problem/mx/dns-record-published?                                       DNS             DNS
     page=prob_mx&action=mx:www.chicme.com&showlogin=1&hidepitch=0&hidetoc=1) Record                                    Record
                                                                                                        Published found


     dns lookup                              smtp diag                            blacklist                 http test                       dns propagation
    Reported by ns64.domaincontrol.com on 6/4/2018 at 3:12:54 AM (UTC 0), just for you (https://mxtoolbox.com/whatismyip/?justforyou=1).                                            Transcript


ABOUT THE SUPERTOOL!
All of your MX record, DNS, blacklist and SMTP diagnostics in one integrated tool. Input a domain name or IP Address or Host
Name. Links in the results will guide you to other relevant tools and information. And you'll have a chronological history of your
results.


If you already know exactly what you want, you can force a particular test or lookup. Try some of these examples:


(e.g. "blacklist: 127.0.0.2" will do a blacklist lookup)



  https://mxtoolbox.com/SuperTool.aspx#                                                                                                                                                                              1/2
Command
 6/3/2018 Explanation                                                                                                         Network Tools: DNS,IP,Email
blacklist:                                  Case 1:18-cv-01981-GLR Document 1-8 Filed 06/29/18 Page 6 of 15
                    Check IP or host for reputation



                                                                                                                          Exhibit 6
smtp:               Test mail server SMTP (port 25)
mx:                 DNS MX records for domain
a:                  DNS A record IP address for host name
spf:                Check SPF records on a domain
txt:                Check TXT records on a domain
ptr:                DNS PTR record for host name
cname:              DNS canonical host name to IP address
whois:              Get domain registration information
arin:               Get IP address block information
soa:                Get Start of Authority record for a domain
tcp:                Verify an IP Address allows tcp connections
http:               Verify a URL allows http connections
https:              Verify a URL allows secure http connections
ping:               Perform a standard ICMP ping
trace:              Perform a standard ICMP trace route
dns:                Check your DNS Servers for possible problems New!


Other tools (NetworkTools.aspx)


Feedback: If you run into any problems with the site or have an idea that you think would make it better, we would appreciate your feedback. Please leave us some
Feedback (mailto:feedback@mxtoolbox.com).




Your IP is: 73.128.223.142 (https://mxtoolbox.com/WhatIsMyIP/)
© Copyright 2004-2018, MXToolBox, Inc (https://mxtoolbox.com/AboutUs.aspx), All rights reserved | Feedback (mailto:feedback@mxtoolbox.com) | Contact (https://mxtoolbox.com/Public/Content/AboutUs.aspx) | Terms & Conditions (https://mxtoolbox.com/TermsAndConditions.aspx) | Site M
(https://mxtoolbox.com/sitemap.aspx) | API (https://mxtoolbox.com/c/products/mxtoolboxapi)
Phone: (866)-MXTOOLBOX / (866)-698-6652 | feedback@mxtoolbox.com (mailto:feedback@mxtoolbox.com) | Privacy (https://mxtoolbox.com/privacypolicy.aspx)




                                                                                                                                                                                   (https://twitter.com/mxtoolbox)   (https://www.facebook.com/pages/MxToolBox/121238494564485)




  https://mxtoolbox.com/SuperTool.aspx#                                                                                                                                                                                                                                 2/2
6/3/2018                                                               Who Is Hosting This Site? Free Tool
                      Case 1:18-cv-01981-GLR Document 1-8 Filed 06/29/18 Page 7 of 15

                                                                                                                     USD    EN       



 You are in: HostAdvice      Tools      Who Is Hosting This Site? Free Tool
                                                                                       Exhibit 6
            Find out who is hosting any website
      Get all the information about hosting companies, what users think about them
                           and have a look at their hosting plans



      www.chicme.com


                                                                          Try Again




           www.chicme.com is hosted on Amazon Web Services (AWS)



                                                                                                                                    
      Try FastComet: our #1 Rated hosting
       Rated 9.7 by 528 users
       Recommended for small websites (Shared Hosting) and startups (VPS, Cloud)
       Free '.com' domain name (worth $9.99)




                                                                    Visit FastComet



           Web Hosting Provider: Amazon Web Services (AWS)

           IP: 50.112.145.132
                                                                                                        24/7 Human support          
https://hostadvice.com/tools/whois/#www.chicme.com                                                                                          1/5
6/3/2018                                                         Who Is Hosting This Site? Free Tool
                    Case 1:18-cv-01981-GLR Document 1-8 Filed 06/29/18 Page 8 of 15
           Location: United States ( Market Share)

           Domain Who Is: Click Here

           Nameservers: wanna-shop.elasticbeanstalk.com


                                                             Share this free tool:
                                                                                            



                                                      Visit Amazon Web Services (AWS)



              Additional Information on Amazon Web Services (AWS)

      Cloud Hosting Plans                                                                                                       


       Plan Name                                     Space           CPU                       RAM      Bandwidth       Price

       EC2 Spot Instances - m3.medium                Unlimited       -                         0B       Unlimited       $5.83

       EC2 Reserved instances - M3.Large             Unlimited       -                         0B       Unlimited       $73.00

       EC2 Dedicated instances                       Unlimited       -                         0B       Unlimited       $1,440.00




      1244 out of 4217 Web Hosts

       spot-instance-feedbac...
      Address:
      Seattle, WA, United States




                                                                                                   24/7 Human support            
https://hostadvice.com/tools/whois/#www.chicme.com                                                                                   2/5
6/3/2018                                                 Who Is Hosting This Site? Free Tool
                      Case 1:18-cv-01981-GLR Document 1-8 Filed 06/29/18 Page 9 of 15




                                                       Exhibit 6




   Latest User Reviews on Amazon Web Services (AWS)                                                            




                                                         Andrey Andrey
                                                               Latvia

                                                                      2.0   



           aws aws
            Service used: Cloud

           Very bad, They charge you even if it says free for a year. No indication of price - no price tag - BAM and
           minus from you bank account. Support does not help. Stay away.



                                                     Published on Feb. 5, 2018
     Currently Top 5 Most Loved Similar Hosting Companies to Amazon Web Services
                                         (AWS)
                                                                                          24/7 Human support            
https://hostadvice.com/tools/whois/#www.chicme.com                                                                          3/5
               Case 1:18-cv-01981-GLR Document 1-8 Filed 06/29/18 Page 10 of 15

Jimi Kolawole

From:               Amazon EC2 Abuse <ec2-abuse@amazon.com>
Sent:               Wednesday, June 6, 2018 2:58 PM
To:                 Jimi Kolawole
Subject:            Your Amazon EC2 Abuse Report [55949691342] -

                                                                    Exhibit 6
                            
      Hello, 
       
      Thank you for submitting your abuse report. We have begun our investigation into the source of the 
      activity or content you reported. 
       
      We've determined that an Amazon EC2 instance was running at the IP address you provided in your abuse 
      report. We have reached out to our customer to determine the nature and cause of this activity or 
      content in your report. 
       
      We will investigate your complaint to determine what additional actions, if any, need to be taken in this 
      case. Due to our privacy and security policies, we cannot provide details regarding the resolution of this 
      case, or the identity of our customer. We may notify you during our investigation if our customer requires 
      more information from you to complete their troubleshooting of the issue. Our customer may reply 
      stating that the activity or content is expected and instructions on how to prevent the activity or manually 
      remove the content, as well. If you wish to provide additional information to us or our customer regarding 
      this case, please reply to this email. 
       
      Please note that if we determine the activity or content to not be abusive, we will notify you and resolve 
      the case; we may refrain from communicating further, in that case. 
       
      We will notify you once this case has been marked resolved. Thank you for alerting us to this issue. 
       
      Regards, 
      AWS Abuse Team 
       
      Case number: 55949691342 
       
      Your original report: 
       
      * Log Extract:  
      <<< 
      http://stylepantry.com/2018/02/02/one‐shoulder‐drape‐jumpsuit‐wbelt/ 
      https://www.chicme.com/product/stylish_skew_neck_tied_jumpsuits/ac9614ec‐76c3‐4e77‐8989‐ 
      848d43e46c65.html 
      http://stylepantry.com/2017/07/10/buttoned‐shoulder‐dolman‐sleeve‐jumpsuit/ 
      https://www.chicme.com/product/solid_one_shoulder_tied_waist_culotte_jumpsuit/7393ad76‐a5ca‐ 
      4cf9‐a8c0‐80ea688a8697.html 
      http://stylepantry.com/2017/07/10/buttoned‐shoulder‐dolman‐sleeve‐jumpsuit/ 
      https://www.chicme.com/product/rainbow_striped_skew_neck_casual_jumpsuit/b74e11d1‐2728‐ 
                                                           1
                                                             Exhibit 6
        Case 1:18-cv-01981-GLR Document 1-8 Filed 06/29/18 Page 11 of 15
4374‐b77a‐c191a7325232.html 
http://stylepantry.com/2017/12/11/fksp‐folded‐collar‐jumpsuit/ 
https://www.chicme.com/product/self_belted_wide_leg_jumpsuits/66934c38‐e782‐477d‐828e‐ 
494845680f82.html 
http://stylepantry.com/2018/01/25/folded‐collar‐tunic‐ripped‐white‐jeans/ 
https://www.chicme.com/product/casual_side_slit_contrast_color_blouse/2c14c4a8‐5efc‐4d82‐b4d6‐ 
f3506f52b72e.html 
http://stylepantry.com/2015/07/09/leopard‐print‐wrap‐dress‐distressed‐white‐jeans/ 
https://www.chicme.com/product/high_split_leopard_print_beachwear_maxi_wrap_dress/656ecc07‐ 
7139‐44fa‐9d4a‐a4898ed3ea6b.html 
http://stylepantry.com/2016/01/06/ribbed‐sweater‐midi‐dress/ 
https://www.chicme.com/product/trendy_side_split_long_sleeve_maxi_dress/5ebcde85‐e374‐4306‐ 
9019‐0c63a16640ef.html 
http://stylepantry.com/2017/11/16/navy‐bell‐sleeve‐wide‐leg‐jumpsuit/ 
https://www.chicme.com/product/lantern_sleeve_tied_high_waist_flared_jumpsuits/6d8a808f‐3a76‐ 
4f8b‐9a31‐e4c020756c00.html 
http://stylepantry.com/2017/12/12/wrap‐bodice‐fitted‐midi‐dress/ 
https://www.chicme.com/product/deep_v_puff_sleeve_midi_dress_/519e90b1‐dbc9‐4131‐8b46‐ 
71f4ce3a81bb.html 
http://stylepantry.com/2012/07/06/50654/ 
https://www.chicme.com/product/solid_batwing_sleeve_skew_neck_maxi_dress/6575145c‐5bd5‐ 
4ca3‐bc71‐9dea4cc1928f.html 
http://stylepantry.com/2017/12/11/fksp‐folded‐collar‐jumpsuit/ 
https://www.chicme.com/product/self_belted_wide_leg_jumpsuits/66934c38‐e782‐477d‐828e‐ 
494845680f82.html 
http://stylepantry.com/2016/04/21/printed‐halter‐top‐white‐flounce‐midi‐skirt/ 
https://www.chicme.com/product/trendy_pocket_design_high_waist_pleated_skirt/470d488f‐49c3‐ 
4870‐99c2‐878c66ff398f.html 
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Original Infringing Image 
[ https://www.chicme.com/product/rainbow_striped_skew_neck_casual_jumpsuit/b74e11d1‐2728‐ 
4374‐b77a‐c191a7325232.html ] 
http://stylepantry.com/2018/01/29/side‐slit‐crop‐top‐high‐waist‐belted‐pants 
https://www.chicme.com/product/fashion_cut_out_tied_front_pantsuits/ab24442b‐5169‐4989‐
9a7fe86a810c70c8. 
html 
http://stylepantry.com/2018/03/27/puff‐sleeve‐shirt‐high‐waist‐linen‐pants/ [ 
https://www.chicme.com/product/solid_button_high_waist_wide_leg_pant/dcb6eee1‐552c‐4b79‐9f3f‐ 
550a412737f2.html 
http://stylepantry.com/2017/12/25/one‐shoulder‐draped‐midi‐dress/ 
https://www.chicme.com/product/asymmetric_ruched_one_shoulder_pleated_casual_dress/f8a40a3 
2‐ce14‐41f8‐a1d6‐68139ea5b181.html 
http://stylepantry.com/2018/03/05/halter‐top‐w‐train‐ripped‐ankle‐jeans/ 
https://www.chicme.com/product/oversize_irregular_sleeveless_long_back_blouse/01fc5ec0‐2d84‐ 
46de‐aa60‐9a7587f76835.html 
http://stylepantry.com/2018/03/19/contrast‐tunic‐dark‐rinse‐jeans 
https://www.chicme.com/product/contrast_color_splicing_deep_v_slit_casual_blouse/a09ca521‐ 
0d81‐4b64‐9da0‐ddceddad506d.html 
http://stylepantry.com/2018/02/12/one‐shoulder‐midi‐dress 
https://www.chicme.com/product/solid_one_shoulder_sheath_midi_dress/4c01c733‐1185‐4a07‐ 
8610‐315bccddb75e.html 
http://stylepantry.com/2017/11/02/bell‐sleeve‐wide‐leg‐jumpsuit 
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https://www.chicme.com/product/fashion_buttoned_belted_wide_leg_jumpsuit/3c0b69e3‐e9c2‐ 
4539‐b4c4‐d8d641de4fb5.html 
http://stylepantry.com/2017/10/06/asymmetric‐button‐down‐shirt‐ankle‐length‐jeans 
https://www.chicme.com/product/fashion_button_design_tied_waist_casual_blouse/a7a87062‐6794‐ 
4395‐9724‐8f282e4ab2de.html 

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http://stylepantry.com/2017/11/27/drape‐maxi‐dress‐wside‐slit‐2/ 
https://www.chicme.com/product/solid_batwing_sleeve_split_maxi_dress_/ffbdeced‐f161‐4ee6‐9fd8‐ 
1bb0e5fc9ea7.html 
http://stylepantry.com/2017/07/20/print‐midi‐shirt‐dress/ 
https://www.chicme.com/product/stylish_digital_print_high_slit_maxi_dress/aaf523c4‐8dbc‐439f‐ 
9831‐4798366887cb.html 
http://stylepantry.com/2016/06/14/off‐shoulder‐frill‐sleeves‐midi‐dress/ 
https://www.chicme.com/product/stylish_off_shoulder_flare_sleeve_bodycon_dress/06676a66‐293c‐ 
4731‐b54a‐026ff4feee6f.html 
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http://stylepantry.com/2017/12/27/peplum‐one‐shoulder‐dress/ 
https://www.chicme.com/product/one_shoulder_layered_flare_sleeve_print_dress/d1fa1580‐e91a‐ 
42bc‐b7aa‐fb487ec1cf48.html 
http://stylepantry.com/2017/11/09/printed‐dolman‐sleeve‐midi‐dress/ 
https://www.chicme.com/product/half_sleeve_printed_midi_dress_/bd3c5193‐5c96‐4757‐a498‐ 
53656747811b.html 
http://stylepantry.com/2017/05/18/black‐slouchy‐off‐shoulder‐midi‐dress/ 
https://www.chicme.com/product/stylish_ruched_skew_neck_bodycon_midi_dress/859b1e27‐2898‐ 
4332‐a589‐ce52c876e7a9.html 
http://stylepantry.com/2017/12/05/printed‐long‐sleeve‐v‐neck‐maxi/ 
https://www.chicme.com/product/puff_sleeve_geometric_print_maxi_dress/c38e7505‐87e6‐4537‐ 
854c‐37990ed24e89.html 
http://stylepantry.com/2017/07/10/buttoned‐shoulder‐dolman‐sleeve‐jumpsuit/ 
https://www.chicme.com/product/solid_one_shoulder_tied_waist_flared_jumpsuit/740e87e0‐01cf‐ 
4cfc‐8bff‐8932c0db1b93.html 
http://stylepantry.com/2017/11/02/bell‐sleeve‐wide‐leg‐jumpsuit/ [ 
https://www.chicme.com/product/fashion_buttoned_belted_wide_leg_jumpsuit/242348c5‐e427‐4106‐ 
a1ab‐2b0d59acb357.html 
http://stylepantry.com/2017/07/10/buttoned‐shoulder‐dolman‐sleeve‐jumpsuit/ 
http://stylepantry.com/2017/07/05/boxy‐crop‐top‐belted‐high‐waist‐pants/ 
https://www.chicme.com/product/elegant_high_waist_bandage_wide_leg_pants/9ab819d3‐57fa‐ 
44d1‐aa31‐aa2e864754f6.html 
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* Comments:  
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7517 Cedar Grove Lane, Elkridge, MD 21075| 443 546 8146 | oakolawole@justklf.com 
Page 1 of 2 
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1. Please be advised that we represent Style Pantry LLC and Ms. Folake Huntoon. 
Style Pantry LLC is the registered trademark owner of FKSP Folake Kuye Style 
Pantry mark, the owner of http://stylepantry.com, an online fashion blog, and 
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                                        Exhibit 6
2. This letter is a Notice of Infringement as authorized in § 512(c) of the U.S. 
Copyright Law under the Digital Millennium Copyright Act (DMCA). I wish to 
report the Copyright Infringement of FKSP and Ms. Huntoon’s images. The 
infringing material appears on a website for which you are the designated host 
or hosting or providing services to. 
a. https://www.chicme.com/ 
3. The copyrighted material, which I contend belongs to Style Pantry LLC and/or 
Ms. Huntoon and appears illegally on the website for which you provide services 
to, are listed in the attached Schedule of Copyright Infringement. 
4. The site is displaying unauthorized images of Ms. Huntoon and fashion style 
designs she created. The website then photo‐shops the images or sells additional 
colors of the style featured in the pictures. 
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5. I have a good faith belief that the use of the copyrighted materials is not 
authorized by the copyright owner, its agent, or the law. 
6. ChicMe.com is a gross violator of the copyrights of others and Amazon Web 
Services is hereby put on notice. 
7. I swear, under the penalty of perjury, that the information in this notification is 
accurate and that I am authorized to act on behalf of the Copyright’s owner. 
Sincerely, 
Jimi Kolawole, Esq. 
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https://www.chicme.com/product/stylish_skew_neck_tied_jumpsuits/ac9614ec‐76c3‐4e77‐8989‐ 
848d43e46c65.html 
http://stylepantry.com/2017/07/10/buttoned‐shoulder‐dolman‐sleeve‐jumpsuit/ 
https://www.chicme.com/product/solid_one_shoulder_tied_waist_culotte_jumpsuit/7393ad76‐a5ca‐ 
4cf9‐a8c0‐80ea688a8697.html 
http://stylepantry.com/2017/07/10/buttoned‐shoulder‐dolman‐sleeve‐jumpsuit/ 
https://www.chicme.com/product/rainbow_striped_skew_neck_casual_jumpsuit/b74e11d1‐2728‐ 
4374‐b77a‐c191a7325232.html 
http://stylepantry.com/2017/12/11/fksp‐folded‐collar‐jumpsuit/ 
https://www.chicme.com/product/self_belted_wide_leg_jumpsuits/66934c38‐e782‐477d‐828e‐ 
494845680f82.html 
http://stylepantry.com/2018/01/25/folded‐collar‐tunic‐ripped‐white‐jeans/ 
https://www.chicme.com/product/casual_side_slit_contrast_color_blouse/2c14c4a8‐5efc‐4d82‐b4d6‐ 
f3506f52b72e.html 
http://stylepantry.com/2015/07/09/leopard‐print‐wrap‐dress‐distressed‐white‐jeans/ 
https://www.chicme.com/product/high_split_leopard_print_beachwear_maxi_wrap_dress/656ecc07‐ 
7139‐44fa‐9d4a‐a4898ed3ea6b.html 
http://stylepantry.com/2016/01/06/ribbed‐sweater‐midi‐dress/ 
https://www.chicme.com/product/trendy_side_split_long_sleeve_maxi_dress/5ebcde85‐e374‐4306‐ 
9019‐0c63a16640ef.html 
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https://www.chicme.com/product/deep_v_puff_sleeve_midi_dress_/519e90b1‐dbc9‐4131‐8b46‐ 
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https://www.chicme.com/product/solid_batwing_sleeve_skew_neck_maxi_dress/6575145c‐5bd5‐ 

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494845680f82.html 
http://stylepantry.com/2016/04/21/printed‐halter‐top‐white‐flounce‐midi‐skirt/ 
https://www.chicme.com/product/trendy_pocket_design_high_waist_pleated_skirt/470d488f‐49c3‐ 
4870‐99c2‐878c66ff398f.html 
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4374‐b77a‐c191a7325232.html ] 
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550a412737f2.html 
http://stylepantry.com/2017/12/25/one‐shoulder‐draped‐midi‐dress/ 
https://www.chicme.com/product/asymmetric_ruched_one_shoulder_pleated_casual_dress/f8a40a3 
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https://www.chicme.com/product/oversize_irregular_sleeveless_long_back_blouse/01fc5ec0‐2d84‐ 
46de‐aa60‐9a7587f76835.html 
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0d81‐4b64‐9da0‐ddceddad506d.html 
http://stylepantry.com/2018/02/12/one‐shoulder‐midi‐dress 
https://www.chicme.com/product/solid_one_shoulder_sheath_midi_dress/4c01c733‐1185‐4a07‐ 
8610‐315bccddb75e.html 
http://stylepantry.com/2017/11/02/bell‐sleeve‐wide‐leg‐jumpsuit 
https://www.chicme.com/product/fashion_buttoned_belted_wide_leg_jumpsuit/3c0b69e3‐e9c2‐ 
4539‐b4c4‐d8d641de4fb5.html 
http://stylepantry.com/2017/10/06/asymmetric‐button‐down‐shirt‐ankle‐length‐jeans 
https://www.chicme.com/product/fashion_button_design_tied_waist_casual_blouse/a7a87062‐6794‐ 
4395‐9724‐8f282e4ab2de.html 
http://stylepantry.com/2017/11/27/drape‐maxi‐dress‐wside‐slit‐2/ 
https://www.chicme.com/product/solid_batwing_sleeve_split_maxi_dress_/ffbdeced‐f161‐4ee6‐9fd8‐ 
1bb0e5fc9ea7.html 
http://stylepantry.com/2017/07/20/print‐midi‐shirt‐dress/ 
https://www.chicme.com/product/stylish_digital_print_high_slit_maxi_dress/aaf523c4‐8dbc‐439f‐ 
9831‐4798366887cb.html 
http://stylepantry.com/2016/06/14/off‐shoulder‐frill‐sleeves‐midi‐dress/ 
https://www.chicme.com/product/stylish_off_shoulder_flare_sleeve_bodycon_dress/06676a66‐293c‐ 
4731‐b54a‐026ff4feee6f.html 
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        https://www.chicme.com/product/one_shoulder_layered_flare_sleeve_print_dress/d1fa1580‐e91a‐ 
        42bc‐b7aa‐fb487ec1cf48.html 

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        http://stylepantry.com/2017/11/09/printed‐dolman‐sleeve‐midi‐dress/ 
        https://www.chicme.com/product/half_sleeve_printed_midi_dress_/bd3c5193‐5c96‐4757‐a498‐ 
        53656747811b.html 
        http://stylepantry.com/2017/05/18/black‐slouchy‐off‐shoulder‐midi‐dress/ 
        https://www.chicme.com/product/stylish_ruched_skew_neck_bodycon_midi_dress/859b1e27‐2898‐ 
        4332‐a589‐ce52c876e7a9.html 
        http://stylepantry.com/2017/12/05/printed‐long‐sleeve‐v‐neck‐maxi/ 
        https://www.chicme.com/product/puff_sleeve_geometric_print_maxi_dress/c38e7505‐87e6‐4537‐ 
        854c‐37990ed24e89.html 
        http://stylepantry.com/2017/07/10/buttoned‐shoulder‐dolman‐sleeve‐jumpsuit/ 
        https://www.chicme.com/product/solid_one_shoulder_tied_waist_flared_jumpsuit/740e87e0‐01cf‐ 
        4cfc‐8bff‐8932c0db1b93.html 
        http://stylepantry.com/2017/11/02/bell‐sleeve‐wide‐leg‐jumpsuit/ [ 
        https://www.chicme.com/product/fashion_buttoned_belted_wide_leg_jumpsuit/242348c5‐e427‐4106‐ 
        a1ab‐2b0d59acb357.html 
        http://stylepantry.com/2017/07/10/buttoned‐shoulder‐dolman‐sleeve‐jumpsuit/ 
        http://stylepantry.com/2017/07/05/boxy‐crop‐top‐belted‐high‐waist‐pants/ 
        https://www.chicme.com/product/elegant_high_waist_bandage_wide_leg_pants/9ab819d3‐57fa‐ 
        44d1‐aa31‐aa2e864754f6.html 
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